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 4
                                UNITED STATES DISTRICT COURT
 5                             EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,                      )   No. CR-09-015-EFS-21
 7                                                  )
                    Plaintiff,                      )   ORDER GRANTING MOTION TO
 8                                                  )   MODIFY PRETRIAL RELEASE
     v.                                             )   CONDITIONS
 9                                                  )
     BRANDON J. HIGGINS,                            )
10                                                  )
                    Defendant.                      )
11                                                  )

12        Before the court is the Defendant’s Motion to modify pretrial

13   release conditions to allow the Defendant to work for his current

14   employer on a scheduled highway job for a period of twenty (20) to

15   thirty (30) days during the month of August 2010 in the Seattle

16   area, outside of the Eastern District of Washington.

17        U.S.    Probation     Officer       Ann   Sauther     is   in    agreement      with

18   Defendant’s request to work in the Seattle area during the month of

19   August 2010, with the condition that Defendant comply with his once

20   a month U.A. condition at a facility in the Seattle area.

21        The    court   has    considered      the     Defendant’s       Motion,   and   the

22   recommendations of the U.S. Probation Officer, and finds there is

23   good cause to grant the requested relief.

24        IT IS ORDERED that Defendant’s Motion (Ct. Rec. 2170) is GRANTED.

25   The Defendant shall be permitted to work on the highway work site in

26   the Seattle area for his current employer for a period of twenty

27   (20) to thirty (30) days during the month of August 2010. Defendant

28   shall notify Officer Sauther as to his plans for continuing his once


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 1   a month U.A. at a Seattle area facility and thereafter shall provide
 2   her office with confirmation of the testing and results.             All other
 3   standard and special conditions of the Defendant’s pretrial release
 4   shall remain in full force and effect.
 5      DATED August 4, 2010.
 6
 7                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING MOTION TO MODIFY PRETRIAL RELEASE CONDITIONS - 2
